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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:                                        )
                                               )      CHAPTER 7
 NEXXLINX CORPORATION, INC.,                   )
     et al.                                    )      CASE NO 16-61225-pmb
                                               )      Jointly Administered Cases 1
                 Debtors.                      )

           OBJECTION TO LEVEL 3 COMMUNICATIONS, LLC’S MOTION FOR ALLOWANCE
     AND PAYMENT OF ITS ADMINISTRATIVE EXPENSE CLAIM PURSUANT TO 11 U.S.C. § 503(B)(1)(A)




          COMES NOW Trustee Tamara Miles Ogier (hereinafter “Trustee”), who files this

 Objection to Level 3 Communications, LLC’s Motion for Allowance and Payment of its

 Administrative Expense Claim Pursuant to 11 U.S.C. § 503(B)(1)(A) [Docket No. 476] (“the

 Motion”) and who shows the Court as follows:

          Level 3 Communications, LLC (“Level 3”) seeks an allowed administrative expense

 claim in the amount of $10,280.54 for the period from June 28, 2016 through January 8, 2018.

 However, the Motion has two flaws. First, it does not delineate between a Chapter 7 and a

 Chapter 11 administrative expenses. Next, despite the fact that Level 3 is seeking an allowed

 administrative expense, the invoices attached to the Motion cover prepetition, Chapter 11,

 Chapter 7, and post service termination time periods.

          An analysis of the invoices shows as follows:




 1
        All of the Debtors include NexxLinx Corporation, Inc., Case No. 16-61225; NexxLinx
 Global, Inc., Case No. 16-61233; NexxLinx of New York, Inc., Case No. 16-61234; NexxLinx
 of Texas, Inc., Case No. 16-61236; CustomerLinx of North Carolina, Inc., Case No. 16-61229,
 and Microdyne Outsourcing Inc., Case No. 16-61231.
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 dates of service      total invoice          chapter                       pre-petition Ch 11 admini Ch 7 admini not owed
 5/17/17 - 6/16/17      $            1,264.51 all prepetition               $ 1,264.51
 6/17/17 - 6/27/17                            11 days prepetition           $    463.65
 6/28/17 - 7/16/17      $            1,264.51 19 days during 11                          $    800.86
 7/17/17 - 8/16/17      $            1,264.51 all during 11                              $ 1,264.51
 8/17/17 -9/16/17       $            1,264.51 all during 11                              $ 1,264.51
 9/17/17 - 10/16/17     $            1,264.62 all during 11                              $ 1,264.62
 10/17-17 - 11/12/17                          26 days during 11                          $ 1,096.00
 11/13/17 - 11/16/17    $            1,264.62 4 days during 7                                         $    168.62
 11/17/17 - 12/16/17    $            1,264.62 all during 7                                            $ 1,264.62
 12/17/17 - 1/16/18                           23 days during 7                                        $    938.27
                                              8 days after service
                        $            1,264.62 terminated                                                                                                     $                                    326.35
                        $           10,116.52                               $                  1,728.16 $                                5,690.50 $ 2,371.50 $                                    326.35




                                                                                                       total chapter 11 admini expense




                                                                                                                                                total chapter 7 admini expense
                                                                     total prepetition claim




                                                                                                                                                                                 total not owed
         Given the relevant dates of service as set forth in the chart above, it appears that Level 3

 is entitled to a general unsecured prepetition claim in the amount of $1,728.16, a Chapter 11

 administrative expense claim of $5,690.50, and a Chapter 7 administrative expense claim of

 $2,371.50.

         WHEREFORE, for the foregoing reasons, Trustee requests that this Honorable Court:

          1. Deny Level 3’s Motion for an administrative expense claim of $10,280.54;

          2. Find that Level 3 has a general unsecured prepetition claim in the amount of

               $1,728.16, a Chapter 11 administrative expense claim of $5,690.50, and a Chapter 7

               administrative expense claim of $2,371.50; and




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       3. Grant such further and other relief as this Court deems just and equitable.

      Respectfully submitted, this 6th day of July, 2018.

                                    OGIER, ROTHSCHILD & ROSENFELD, P.C.

                                    By:     /s/ Tamara Miles Ogier
                                            Tamara Miles Ogier
                                            Georgia Bar No. 550355
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                                  CERTIFICATE OF SERVICE



    This is to certify that I have this day served a copy of the foregoing Objection to Level 3

 Communications, LLC’s Motion for Allowance and Payment of its Administrative Expense

 Claim Pursuant to 11 U.S.C. § 503(B)(1)(A) by depositing them in the United States Mail,

 postage prepaid and addressed to:

        United States Trustee
        362 Richard B. Russell Bldg.
        75 Ted Turner Drive SW
        Atlanta, GA 30303

        NexxLinx Corporation, Inc.
        3565 Piedmont Road NE
        Bldg 2, Suite 104
        Atlanta, GA 30305

        Roberto Bazzani
        Scroggins & Williamson, P.C.
        One Riverside, Suite 450
        4401 Northside Parkway
        Atlanta, GA 30327

        Bradley S. Wolff
        Swift, Currie, McGhee & Hiers, LLP
        The Peachtree, Suite 300
        1355 Peachtree Street, N.E.
        Atlanta, GA 30309-3231

        Dated: July 6, 2018

                                              OGIER, ROTHSCHILD & ROSENFELD, P.C.

                                              By: /s/ Tamara Miles Ogier
                                              Tamara Miles Ogier
                                              Georgia Bar No. 550355
    P.O. Box 1547
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